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                    UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re:                                       :      Chapter 13
Michael A. Beck,                             :
               Debtor.                       :      Bankruptcy No. 14-17490-MDC


                                        ORDER
         AND NOW, this 22nd day of March, 2018, it is hereby ORDERED that if Michael A.

Beck (the “Debtor”) and Wells Fargo Bank, N.A. (“Mortgagee”) elect to enter into the proposed

loan modification under the terms proposed by Mortgagee, the Debtor and Mortgagee may do so

without there being any violation of the bankruptcy stay, or the provisions of 11 U.S.C. §362.



                                                    MAGDELINE D. COLEMAN
                                                    UNITED STATES BANKRUPTCY JUDGE

Brad J. Sadek, Esquire
Sadek and Cooper
1315 Walnut Street, Suite 502
Philadelphia, PA 19107

William C. Miller, Esquire
Chapter 13 Trustee
1234 Market Street, Suite 1813
Philadelphia, PA 19107

United States Trustee
833 Chestnut Street, Suite 500
Philadelphia, PA 19107
